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              21-11045-lgb Doc 62-15    Filed 07/12/21 Entered 07/12/21 20:05:06 Exhibit 15 -
                    Daniel Hoffmans Declaration for Reply to Motion for Transfer Pg 1 of 2



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             Counsel for COPIC Insurance Company

             UNITED STATES BANKRUPTCY COURT
             SOUTHERN DISTRICT OF NEW YORK
             -------------------------------------- X
                                                    :
             In re:                                   Chapter 11
                                                    :
             CERTA DOSE, INC.,                        Case No. 21-11045-lgb
                                                    :
                         Debtor.
                                                    :
             -------------------------------------- X

                    DECLARATION OF DANIEL HOFFMAN IN SUPPORT OF MOTION
               OF COPIC INSURANCE COMPANY, PURSUANT TO 28 U.S.C. § 1412 AND FED. R.
                   BANKR. P. 1014(a)(2), TO TRANSFER VENUE TO THE UNITED STATES
                       BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

             STATE OF COLORADO               )
                                             ) ss.:
             COUNTY OF DENVER                )

                      Daniel Hoffman, being duly sworn, deposes and says:

                      1.       I submit this Declaration in support of COPIC Insurance Company’s Motion to

             Transfer Venue to the United States Bankruptcy Court for the District of Colorado filed June 22,

             2021 [Doc. 36] (the “Motion”).

                      2.       On November 4, 2020, I filed a lawsuit against Caleb Hernandez and Certa Dose,

             Inc. (“Certa Dose”) in District Court for the City and County of Denver, Case Number

             2020CV33739. This action is now pending arbitration, which was set to occur beginning October




             114944140.1

                                                         Exhibit 15
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              21-11045-lgb Doc 62-15    Filed 07/12/21 Entered 07/12/21 20:05:06 Exhibit 15 -
                    Daniel Hoffmans Declaration for Reply to Motion for Transfer Pg 2 of 2



             25, 2021 until the case was automatically stayed due to Certa Dose’s bankruptcy. In the motion

             to compel arbitration filed on January 7, 2021, Certa Dose correctly asserts that it “is a company

             headquartered in Denver, Colorado.” See Defendant’s Motion to Compel Arbitration and Stay

             Case and Motion for Extension of Time to Respond to Complaint and Motion for Appointment of

             Receiver, attached hereto.

                      3.       The vast majority of witnesses in the arbitration are located in the Denver, Colorado

             metro area.

                      4.       I intend to actively pursue any rights and remedies I have under state and federal

             law against Certa Dose, and am fully prepared to do so in the bankruptcy court located in Denver,

             Colorado. I have retained counsel in Colorado. If the case is not moved, it will be difficult, costly,

             and highly inconvenient for me to retain bankruptcy counsel to practice before this Court.

                      5.       In addition to being an equity security holder in Certa Dose, I am also creditor of

             Certa Dose, even though Certa has not listed me as a creditor in its bankruptcy case. Although the

             amount of my claim is yet to be liquidated, I believe my claim is not less than $550,000.

                      6.       Despite being a creditor and equity security holder of Certa Dose, I have not

             received any formal notice of the bankruptcy filing.

                      7.       I respectfully request that this Court recognize the inconvenience to me and other

             creditors of Certa Dose, and transfer this bankruptcy case to the Bankruptcy Court for the District

             of Colorado.

                      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

             United States of America that the foregoing is true and correct.

                      Executed on July 12, 2021.

                                                                     _______________________________
                                                                     Daniel Hoffman

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